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             EXHIBIT G
          Mesiti Declaration
   U.S. Design Patent No. D644,438
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                                                                                                      USOOD644438S


(12) United States Design Patent (10) Patent No.:                                                                        US D644,438 S
       Brucker                                                                     (45) Date of Patent:                           Sep. 6, 2011
(54) HANGER FOR A PURSE OR THE LIKE                                                  D465,653 S * 1 1/2002 Fuschillo ....................... D3,328
                                                                                     D514,319 S * 2/2006 King et al. .....                 ... D3,328
                                                                                     7,322,554 B2 *
                                                                                                  1/2008 Caroselli et al. ...              ... 248,304
(76) Inventor: Lester A. Brucker, Chokoloskee, FL                                    D596,859 S * 7/2009 Castaline et al. ..               ... D3,328
               (US)                                                                  D599,188 S * 9/2009 Ingalsbe et al. ................ D8/328
 ck                                                                                  D611,330 S *       3/2010 Barrese .......................... D8,367
(**) Term:             14 Years                                                 * cited by examiner
(21) Appl. No. 29/364,377                                                       Primary Examiner — Holly Baynham
(22) Filed:    Jun. 23, 2010
(51) LOC (9) Cl. .................................................. 03-01       (57)                     CLAM
(52) U.S. Cl. ........................................................ D3A328   For the ornamental design of a hanger for a purse or the like,
(58) Field of Classification Search ................... D3/328;                 as shown and described.
                D8/367,370; D6/323; 248/215,302–303
        See application file for complete search history.
                                                                                                       DESCRIPTION
(56)                       References Cited
                  U.S. PATENT DOCUMENTS                                         FIG. 1 is a perspective view of the hanger
                                                                                FIG. 2 is a front elevation view
       B.S. s : 1886; SW     .......................... R
                       (Wall ............
                                                                                FIG. 3 is a left side elevation view, the right side being a
       500. As S : 1668 Canal.". 58.36                                          mirror image; and
       D408.723 S : 4/1999 Goodman et al. ... D8,367                            FIG. 4 is a rear elevation view.
       D429,899 S *         8/2000 Schwartz .........               D6,327
       D435,733 S ck I/2001 Osterholt . D3/328                                                   1 Claim, 4 Drawing Sheets
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                                  Fig 1
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                                  Fig 2
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                                  Fig 3
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                            Fig. 4
